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     15                        IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEVADA
     16

     17
           UNION PACIFIC RAILROAD COMPANY,           Case No. 3:17-cv-00477-LRH-CLB
     18    a Delaware corporation,
                               Plaintiff,                     UNION PACIFIC’S
     19    v.                                          TWENTIETH MOTION IN LIMINE TO
                                                     PERMIT UNION PACIFIC WITNESSES TO
     20    WINECUP GAMBLE, INC., a Nevada                    TESTIFY BY VIDEO
           corporation,
     21                        Defendant.
     22

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                                                       INTRODUCTION1
      1

      2             Union Pacific has twenty-three witnesses on its trial witness list. (See ECF # 108). Given
      3
          the COVID-19 global pandemic, Union Pacific requests leave for all its witnesses to testify at
      4
          trial by videoconference if the witness would have to travel to trial by plane or for more than
      5
          three hours by car.
      6
                    Federal Rule of Civil Procedure 43(a) allows for video testimony where there is good
      7

      8 cause and appropriate safeguards. Here, the COVID-19 global pandemic constitutes good cause

      9 and, with modern video technology, appropriate safeguards can easily be instituted. Video

     10 testimony will protect the health and safety of witnesses and others and will not undermine juror

     11
          comprehension.
     12
                                                          ARGUMENT
     13
          I.       FEDERAL RULES PERMIT VIDEO TESTIMONY FOR GOOD CAUSE AND
     14            WITH APPROPRIATE SAFEGUARDS.
     15            Federal Rule of Civil Procedure 43(a) permits provides that “[f]or good cause in compelling
     16 circumstances and with appropriate safeguards, the court may permit testimony in open court by

     17
          contemporaneous transmission from a different location.” Fed. R. Civ. P. 43(a). The decision to
     18
          require testimony by videoconference falls within the Court’s discretion. See Thomas v.
     19
          Anderson, 912 F.3d 971, 977 (7th Cir. 2018) (“[U]nder Rule 43(a), the judge has discretion to
     20

     21 allow live testimony by video for ‘good cause in compelling circumstances and with appropriate

     22 safeguards.’ ”), cert. denied, ––– S. Ct. ––––, 140 S.Ct. 533, 205 L.Ed.2d 334 (2019). Moreover,

     23 the Court’s discretion on this question is supplemented by its “wide latitude in determining the

     24 manner in which evidence is to be presented” under the Federal Rules of Evidence. Parkhurst v.

     25
          Belt, 567 F.3d 995, 1002 (8th Cir. 2009) (citing Fed. R. Evid. 611(a)).
     26

     27
          1
     28       As in prior briefs, the parties will be called Union Pacific and Winecup.

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                “The most persuasive showing of good cause and compelling circumstances are likely to
      1

      2 arise when a witness is unable to attend trial for unexpected reasons, such as accident or illness,

      3 but remains able to testify from a different place.” Fed. R. Civ. P. 43(a) advisory committee’s

      4 notes (1996 amendment). The use of “[c]ontemporaneous transmission may be better than an

      5
          attempt to reschedule the trial[.]” Id.
      6
                “Safeguards must be adopted that ensure accurate identification of the witness and that
      7
          protect against influence by persons present with the witness.” Fed. R. Civ. P. 43(a) advisory
      8

      9 committee’s notes (1996 amendment). “Accurate transmission likewise must be assured.” Id.

     10 Advance notice should also be given to all parties when possible to give other parties the

     11 opportunity to argue for witness attendance at trial and to ensure “an opportunity to depose the

     12 witness, perhaps by video record, as a means of supplementing transmitted testimony.” Id.

     13
          II.   THE HEALTH AND SAFETY OF WITNESSES, COURT PERSONEL, AND
     14         OTHERS CONSTITUTES GOOD CAUSE.

     15         At least two federal district courts have found that the COVID-19 pandemic constitutes

     16 good cause to allow video testimony. See Vasquez v. City of Idaho Falls, No. 4:16-CV-00184-

     17
          DCN, 2020 WL 1860394, at *8 (D. Idaho Apr. 13, 2020); In re RFC & ResCap Liquidating Tr.
     18
          Action, No. 013CV3451SRNHB, 2020 WL 1280931, at *4 (D. Minn. Mar. 13, 2020) (“The use
     19
          of videoconference technology in this case balances the witnesses’ valid concerns about safety
     20
          with the need for expeditious trial proceedings.”). As one court explained, “the occurrence of
     21

     22 COVID-19—and its impact on the health and safety of the parties and witnesses—is

     23 undoubt[ed]ly an ‘unexpected’ occurrence that nevertheless still permits witnesses ‘to testify from

     24 a different place.’” In re RFC & ResCap, at *3 (citing Fed. R. Civ. P. 43(a) advisory committee’s

     25
          note to 1996 amendment). That court also noted that compelling circumstances existed given that
     26
          witnesses had to travel from out of state to testify. Id. at *4.
     27

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                 Similarly, here, because of the continued risk of COVID-19 exposure, it will protect
      1

      2 witnesses, court personnel, and the parties to minimize the number of individuals who appear at

      3 trial in person. If Union Pacific’s witnesses appear by video, fewer people will need to enter the

      4 court building and pass through security lines, hallways, elevators, waiting areas, and the

      5
          courtroom.
      6
                 There is an added risk to all witnesses given that they will have to occupy the same witness
      7
          chair and waiting areas, use the same microphone, and handle the same exhibit copies as other
      8

      9 witnesses. Many of Union Pacific’s witnesses will only be testifying for a short time (one hour or

     10 less) so several may testify per day. This will result in constant work to decontaminate the witness

     11 chair and waiting areas, which may be impossible to do entirely.

     12          There are additional compelling circumstances here given that nearly all of Union Pacific’s
     13
          witnesses will have to travel far distances to attend trial. Many witnesses will be flying from
     14
          smaller airports (primarily Omaha, Nebraska where Union Pacific is headquartered) and will need
     15
          to make connecting flights, requiring long exposures in two airports each way for what might be
     16

     17 only an hour or so of testimony. Many of Union Pacific’s witnesses are also in high risk groups.

     18 Two of its three expert witnesses are 65 or older (and all require connecting flights to travel to

     19 Reno) and most of its fact witnesses are over the age of 50.

     20
                 Allowing video testimony will also minimize the number of individuals in the courthouse
     21
          because it would allow expert witnesses to listen via videoconference rather than attending all of
     22
          the trial.
     23
          III. APPROPRIATE SAFEGUARDS CAN BE ESTABLISHED.
     24

     25          Safeguards can easily be established to ensure accurate identification of witnesses and

     26 protection from influences. Fed. R. Civ. P. 43(a) advisory committee’s notes (1996 amendment).

     27

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          The witnesses will be under oath and other fact witnesses will be excluded from the video feed.
      1

      2 The feeds can be transmitted accurately and securely using readily available technology. See id.

      3         Live video will not undermine comprehension, and would be preferable to watching a
      4 videotaped deposition or reading a deposition transcript at trial. As one district court recently

      5
          explained, “the near-instantaneous transmission of video testimony through current technology
      6
          permits ‘the jury … to see the live witness along with his hesitation, his doubts, his variations of
      7
          language, his confidence or precipitancy, [and] his calmness or consideration[.]” In re RFC &
      8

      9 ResCap, at *2 (citing In re Vioxx Prods. Litig., 439 F. Supp. 2d 640, 644 (E.D. La. 2006). “Given

     10 the speed and clarity of modern videoconference technology, where good cause and compelling

     11 circumstances are shown, such testimony ‘satisfies the goals of live, in-person testimony and

     12 avoids the short-comings of deposition testimony.’” Id.

     13
                Video testimony may aid juror comprehension. Jurors can each have a book of exhibits in
     14
          advance and so can readily follow along. In addition, overhead or electronic displays of exhibits
     15
          can be used, just as in live testimony. If jurors, the Judge, court reporter, and lawyers practice
     16

     17 social distancing, live witnesses will have to be heard from longer than usual distances, and with

     18 masks on, anyway. With video testimony, video monitors can be placed in multiple locations and

     19 audio amplified as needed to make comprehension easier. Jurors will be able to see the faces of

     20
          witnesses on video closer than they would see witnesses’ faces live. The jurors will also be able
     21
          to view the witnesses’ faces and hear their voices more clearly without masks. Video testimony
     22
          will also aid comprehension because witnesses and jurors will not be distracted by avoiding
     23
          contagion during testimony.
     24

     25                                             CONCLUSION

     26          For the reasons above, Union Pacific respectfully requests that the Court permit all Union

     27 Pacific’s witnesses to testify at trial by video conference.

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               Union Pacific has no objection to Winecup witnesses testifying live or by videotape. Union
      1

      2 Pacific will work with Winecup and court personnel to establish appropriate safeguards and all

      3 technological details.

      4
          Date: June 2, 2020                  Respectfully submitted,
      5
                                              UNION PACIFIC RAILROAD COMPANY
      6

      7                                        /s/ Riley C. Mendoza
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                                 IN THE UNITED STATES DISTRICT COURT
      1
                                       FOR THE DISTRICT OF NEVADA
      2

      3    UNION PACIFIC RAILROAD COMPANY, a                Case No. 3:17-cv-00477-LRH-CBC
           Delaware corporation,
      4
                                 Plaintiff,                   UNION PACIFIC RAILROAD COMPANY’S
      5    v.                                                  MEET-AND-CONFER CERTIFICATION
           WINECUP GAMBLE, INC., a Nevada
      6    corporation,
      7                          Defendant.

      8
                        Pursuant to District of Nevada LR II 16-3(a), Plaintiff Union Pacific Railroad
      9
          Company (“Union Pacific”) hereby certifies that on June 1, 2020, its counsel conferred with
     10
          counsel for Defendant Winecup Gamble, Inc. (“Defendant”) in good faith. Defendant intends to
     11

     12 oppose this motion.

     13

     14 Date:     June 2, 2020                        Respectfully submitted,
     15                                               BY:    /s/ Riley C. Mendoza

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      1                                   CERTIFICATE OF SERVICE
      2          I hereby certify that I am an employee of the law firm of Shook, Hardy & Bacon, LLP,

      3 and that on June 2, 2020, I filed a true and correct copy of the foregoing document with the Clerk

      4
          through the Court’s CM/ECF System, which sent electronic notification to all registered users
      5
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          Date: June 2, 2020                                     /s/ Natalie A. Funk
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